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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANET MONGE,                       :
               Plaintiff           :                      CIVIL ACTION
                                   :
          v.                       :
                                   :
UNIVERSITY OF PENNSYLVANIA et al., :
               Defendants          :                      No. 22-2942

                                           ORDER

       AND NOW, this 21st day of August, 2023, upon consideration of the parties’ letter to the

Court dated August 18, 2023 and the stipulation contained therein, it is ORDERED that the

following deadlines shall apply:

       1. Plaintiff Dr. Monge must FILE any response to Defendant Hyperallergic Media, Inc.’s

           Motion to Dismiss (Doc. No. 134) on or before September 1, 2023; and

       2. Defendant Hyperallergic Media, Inc. must FILE any reply in support of its motion on

           or before September 14, 2023.



                                                  BY THE COURT:


                                                  s/ Gene E.K. Pratter
                                                  GENE E.K. PRATTER
                                                  UNITED STATES DISTRICT JUDGE
